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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 AT BLUEFIELD

UNITED STATES OF AMERICA

v.                                          CRIMINAL NO. 1:13-00261-02

TASHAEY MITCHELL JONES


                          MEMORANDUM OPINION AND ORDER

         Pending before the court is defendant’s motion to continue

the trial and related dates in this matter.              (Doc. No. 57).

Defendant was arrested in the Western District of North Carolina

on a bench warrant after she failed to appear at hearings on

August 12, 2014, and August 25, 2014.             Defendant was scheduled to

enter a guilty plea on both those dates.             Having been notified of

defendant’s pending arrival in this district, the court scheduled

defendant’s trial for September 29, 2014.

        In support of defendant’s motion, counsel for the defendant

states that he needs additional time to consult with defendant.

He has had no contact with her since July 25, 2014 and, given her

nonappearance at her plea hearings, he is unsure if she still

plans to plead guilty or wishes to proceed to trial. Furthermore,

as of the filing of his motion, counsel was still unaware of the

whereabouts of his client and has been unable to discuss these

matters with her.

        Because failure to grant the requested continuance would

likely result in a miscarriage of justice, the court finds that

the ends of justice outweigh the best interest of the defendant

and the public in a speedy trial, see 18 U.S.C. § 3161(h)(7)(A),
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and GRANTS defendant’s motion to continue.             In deciding to grant

defendant’s motion, the court considered the factors outlined in

18 U.S.C. §3161(h)(7)(B) and found that failure to grant the

continuance would deny counsel for the defendant the reasonable

time necessary to effectively prepare for trial, taking into

account the exercise of due diligence.

      Accordingly, the court hereby ORDERS as follows:

     1.    Trial of this action is continued until October 9, 2014,

           at 9:30 a.m., in Bluefield; and

     2.    Pursuant to 18 U.S.C. § 3161(h)(7)(A), the time from the

           filing of defendant’s motion until the trial is

           excludable for purposes of the Speedy Trial Act.

     The Clerk is directed to send a copy of this Memorandum

Opinion and Order to counsel of record, the United States Marshal

for the Southern District of West Virginia, and the Probation

Office of this court.

     IT IS SO ORDERED this 25th day of September, 2014.

                                          ENTER:


                                          David A. Faber
                                          Senior United States District Judge




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